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                                           1   LARSON ZIRZOW & KAPLAN, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                               E-mail: zlarson@lzklegal.com
                                           3
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzklegal.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                               Fax: (702) 382-1169
                                           7

                                           8   Proposed Attorneys for Debtors

                                           9
                                                                         UNITED STATES BANKRUPTCY COURT
                                          10                                    DISTRICT OF NEVADA
                                          11
                                                In re:                                              Case No.: BK-S-18-16584-abl
                                          12                                                        Chapter 11
Tel: (702) 382-1170 Fax: (702) 382-1169
 LARSON ZIRZOW & KAPLAN, LLC




                                                BACHI BURGER, L.L.C.,                               (Joint Administration Pending)
                                          13
        Las Vegas, Nevada 89101




                                                                        Debtor.
          850 E. Bonneville Ave.




                                          14

                                          15
                                                In re:                                              Case No.: BK-S-18-16585-btb
                                          16                                                        Chapter 11
                                                GREEN REVOLUTIONS LLC,
                                          17
                                                                        Debtor.                     Date: OST PENDING
                                          18
                                                                                                    Time: OST PENDING
                                          19
                                                       EMERGENCY MOTION FOR ORDER: (I) AUTHORIZING DEBTORS TO
                                          20         PAY WAGES, SALARIES, BENEFITS, REIMBURSABLE BUSINESS EXPENSES,
                                                       AND OTHER EMPLOYEE OBLIGATIONS; AND (II) AUTHORIZING AND
                                          21            DIRECTING FINANCIAL INSTITUTIONS TO HONOR AND PROCESS
                                                          CHECKS AND TRANSFERS RELATED TO SUCH OBLIGATIONS
                                          22
                                                         Bachi Burger, L.L.C., a Nevada limited liability company (“Bachi Burger”), and Green
                                          23
                                               Revolutions LLC, a Nevada limited liability company (“Green Revolutions” and together with
                                          24
                                               Bachi, the “Debtors”), debtors and debtors-in-possession, hereby respectfully represent:
                                          25
                                               ...
                                          26
                                               ...
                                          27
                                               ...
                                          28
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                                           1                                               Background
                                           2
                                           2          1.        Bachi Burger owns and operates the Bachi Burger restaurant located at 9410 W.
                                           3
                                           3   Sahara Avenue, Suite 150, Las Vegas, Nevada, and Green Revolutions owns and operates the
                                           4
                                           4   Bachi Burger restaurant located at 470 E. Windmill Lane, Suite 100, Las Vegas, Nevada. Both
                                           5
                                           5   restaurants (the “Businesses”) specialize in Asian-style gourmet burgers and sides. The Business
                                           6
                                           6   are managed by Lorin Watada, the Debtors’ managing member.
                                           7
                                           7          2.        On November 1, 2018 (the “Petition Date”), Debtors filed their respective voluntary
                                           8
                                           8   petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
                                           9
                                           9   thereby commencing their bankruptcy cases (the “Chapter 11 Cases”). Debtors are authorized to
                                          10
                                          10   operate their Businesses and property as debtors in possession pursuant to sections 1107(a) and
                                          11
                                          11   1108 of the Bankruptcy Code. The Debtor have also indicated on their Voluntary Petitions that
                                          12
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                                          12   they are small business debtors pursuant to section 101(51D) of the Bankruptcy Code. Additional
                                          13
                                          13   information regarding the Debtors’ businesses is contained in the Omnibus Declaration of Lorin
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                                          14
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                                          14   Watada in Support of Debtors’ Initial Emergency Motions and Other Relief (the “Omnibus
                                          15
                                          15   Declaration”).
                                          16
                                          16                                         Jurisdiction and Venue
                                          17
                                          17          3.        The Court has subject matter jurisdiction to consider and determine this matter
                                          18
                                          18   pursuant to 28 U.S.C. §§ 157 and 1334, and Local Rule 1001(b)(1). This is a core proceeding
                                          19
                                          19   pursuant to 28 U.S.C. § 157(b). Pursuant to LR 9014.2, Debtors consent to the entry of final orders
                                          20
                                          20   and judgments by the bankruptcy judge. Venue is proper before this Court pursuant to 28 U.S.C.
                                          21
                                          21   §§ 1408(1) and 1409(a). No official committees have been formed in the case to date.
                                          22
                                          22                                            Relief Requested
                                          23
                                          23          4.        As of the Petition Date, the Debtors collectively employ approximately 35 hourly
                                          24
                                          24   employees and 3 salaried employees (the “Employees”) in the ordinary course of their businesses
                                          25
                                          25   whose continued services are vital to Debtors’ ongoing operations and reorganization efforts. As
                                          26
                                          26   of the Petition Date, the Employees were owed or had accrued in their favor, various sums for
                                          27
                                          27   wages and salaries incurred in the ordinary course of Debtors’ businesses, including prepetition
                                          28
                                          28   compensation (collectively, the “Wage Obligations”). The total estimated amount of Wage


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                                           1   Obligations that will have accrued, but remain unpaid, as of the Petition Date is approximately
                                           2
                                           2   $17,500.00 for the service employees, and $7,646.00 to management. Debtors pay the Employees
                                           3
                                           3   on a bi-weekly payroll cycle. The last complete pre-petition payroll period stretched from October
                                           4
                                           4   4, 2018 to October 17, 2018. The filing of the Debtors’ bankruptcy petitions fell during the payroll
                                           5
                                           5   period of October 18, 2018 to October 31, 2018.
                                           6
                                           6          5.      Debtors are required by law to withhold from the Employees’ wages amounts
                                           7
                                           7   related to federal and state income taxes, as well as social security and Medicare taxes and to remit
                                           8
                                           8   the same to the appropriate taxing authorities. To the extent that Debtors have deducted funds
                                           9
                                           9   from the Employees’ paychecks sufficient to pay prepetition taxes, withholding taxes and FICA
                                          10
                                          10   contributions attributable to Wage Obligations, which are due but have not been paid yet to any
                                          11
                                          11   governmental entity, the Debtors seek authorization to continue to deduct these funds and pay
                                          12
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                                               them to such governmental entities in the ordinary course of business.
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                                          12
                                          13
                                          13          6.      In addition, Debtors are required to make matching payments from its own funds
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                                          14   on account of social security and Medicare taxes, and to pay, based on a percentage of gross payroll
                                          15
                                          15   (and subject to state-imposed limits), additional amounts to the taxing authorities for, among other
                                          16
                                          16   things, state and federal unemployment insurance. Debtors also are required to maintain worker’s
                                          17
                                          17   compensation insurance for their Employees, which expense is also as reflected in their cash
                                          18
                                          18   collateral budgets. Debtors seek authorization to continue to pay these funds in the ordinary course
                                          19
                                          19   of business.
                                          20
                                          20          7.      In the ordinary course of their employment, certain authorized Employees may
                                          21
                                          21   have used their own personal credit cards or expended their own personal funds on behalf of and
                                          22
                                          22   for the benefit of Debtors (the “Reimbursable Business Expenses”). The Chapter 11 Cases were
                                          23
                                          23   filed during Debtors’ normal payroll periods for hourly and salaried Employees and during normal
                                          24
                                          24   reimbursement cycle for Reimbursable Business Expenses. Employees rendered services and
                                          25
                                          25   incurred Reimbursable Business Expenses in anticipation of receiving their standard compensation
                                          26
                                          26   and reimbursements; however, as of the Petition Date, such obligations may remain unpaid and
                                          27
                                          27   unreimbursed. Debtors cannot provide a definitive amount of Reimbursable Business Expenses
                                          28
                                          28   as of the Petition Date, but based upon prior business practices, would estimate that amount does


                                                                                                3
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                                           1   not exceed $1,000.00. Debtors seek authorization to pay such Reimbursable Business Expenses
                                           2
                                           2   in the ordinary course of business.
                                           3
                                           3           8.      The Wage Obligations to be paid to or for the benefit of each of the Employees will
                                           4
                                           4   not exceed $12,850.00 per employee, consistent with the cap provided in section 507(a)(4) of the
                                           5
                                           5   Bankruptcy Code. Further, the only Employee that is an “insider” of the Debtor as defined in
                                           6
                                           6   section 101(31) of the Bankruptcy Code is Mr. Watada. Mr. Watada works full-time at Bachi
                                           7
                                           7   Burger and indeed works very long hours nearly every day of the week and his employment there
                                           8
                                           8   is his principal source of income to survive.
                                           9
                                           9           9.      If Debtors are unable to take the necessary steps to ensure that wages and taxes are
                                          10
                                          10   paid for the pay period commencing immediately prior to the Petition Date and concluding post-
                                          11
                                          11   petition, there is a significant risk that essential Employees will resign and that those Employees
                                          12
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                                               that remain will be discontented and demoralized.         As such, continued payment of Wage
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                                          12
                                          13
                                          13   Obligations, Employee Benefit Contributions, and Reimbursable Business Expenses is essential
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                                          14   to maintain positive relations between Debtors and their Employees. If the relief requested herein
                                          15
                                          15   is not granted, the success of Debtor’s ongoing business and reorganization will be placed in
                                          16
                                          16   substantial jeopardy. Thus, the relief requested in the Debtors’ Motion is in the best interests of
                                          17
                                          17   Debtors, their estates, and their creditors.
                                          18
                                          18                                             Legal Authorities
                                          19
                                          19           10.     Sections 105(a) and 363(b) of the Bankruptcy Code, in conjunction with sections
                                          20
                                          20   507(a)(4) and 507(a)(5), enable this Court to authorize the Debtors to continue payment of Wage
                                          21
                                          21   Obligations and Reimbursable Business Expenses. Section 105(a) of the Bankruptcy Code
                                          22
                                          22   provides that “[t]he court may issue any order, process, or judgment that is necessary or appropriate
                                          23
                                          23   to carry out the provisions of this title.” 11 U.S.C. § 105(a). Section 363(b)(1) of the Bankruptcy
                                          24
                                          24   Code provides, in pertinent part, that “[t]he trustee, after notice and a hearing may use, sell, or
                                          25
                                          25   lease, other than in the ordinary course of business, property of the estate . . .” 11 U.S.C.
                                          26
                                          26   § 363(b)(1). Section 507(a)(4) of the Bankruptcy Code provides, in pertinent part, a fourth priority
                                          27
                                          27   claim for “allowed unsecured claims, but only to the extent of $12,850 for each individual . . .
                                          28
                                          28   earned within 180 days before the date of filing of the petition . . . for--(A) wages, salaries, or


                                                                                                4
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                                           1   commissions, including vacation, severance, and sick leave pay earned by an individual[.]” 11
                                           2
                                           2   U.S.C. § 507(a)(4).
                                           3
                                           3          11.     The immediate payment of prepetition wage claims is necessary to retain Debtor’s
                                           4
                                           4   Employees; therefore, such payments are critical to maintaining Debtor’s ongoing business and its
                                           5
                                           5   reorganization efforts. As a result, courts have held that pre-petition wage claims may be payable
                                           6
                                           6   outside of a plan of reorganization by virtue of their necessity as well as their priority. See
                                           7
                                           7   Czyzewski v. Jevic Corp., 137 S. Ct. 973, 985-86 (2017) (noting that courts have “approved
                                           8
                                           8   interim distributions that violate ordinary priority rules. But in such instances one can generally
                                           9
                                           9   find significant Code-related objectives that the priority-violating distributions serve. Courts, for
                                          10
                                          10   example, have approved ‘first-day’ wage orders that allow payment of employees’ prepetition
                                          11
                                          11   wages, . . . . In doing so, these courts have usually found that the distributions at issue would
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               “enable a successful reorganization and make even the disfavored creditors better off.”) (citations
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                                          12
                                          13
                                          13   omitted); In re Adams Apple, Inc., 829 F.2d 1484, 1490 (9th Cir. 1987) (noting that cases have
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                                          14
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                                          14   permitted unequal treatment of pre-petition debts when necessary for rehabilitation, including
                                          15
                                          15   specifically within the context of pre-petition wages); In re CEI Roofing, Inc., 315 B.R. 50, 61
                                          16
                                          16   (Bankr. N.D. Tex. 2004); In re CoServ, L.L.C., 273 B.R. 487, 494 n.10 (Bankr. N.D. Tex. 2002);
                                          17
                                          17   In re The Colad Group, Inc., 324 B.R. 208, 214 (Bankr. W.D.N.Y. 2005); In re Equalnet Comm.
                                          18
                                          18   Corp., 258 B.R. 368, 370 (Bankr. S.D. Tex. 2000); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175
                                          19
                                          19   (Bankr. S.D.N.Y. 1989).
                                          20
                                          20          12.     Further, with respect to payroll taxes in particular, the payment of such taxes will
                                          21
                                          21   not prejudice other creditors of the Debtor’s estate because the relevant taxing authorities generally
                                          22
                                          22   would hold priority claims under section 507(a)(8) of the Bankruptcy Code with respect to such
                                          23
                                          23   obligations. Moreover, the portion of the payroll taxes withheld from Employees’ wages on behalf
                                          24
                                          24   of the applicable taxing authority is held in trust by the Debtors. As such, these payroll taxes are
                                          25
                                          25   not property of the estate pursuant to section 541 of the Bankruptcy Code. See Beiger v. IRS, 496
                                          26
                                          26   U.S. 53 (1990).
                                          27
                                          27                                                  Notice
                                          28
                                          28          13.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease


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                                           1   of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court
                                           2
                                           2   orders otherwise.” In view of the urgency of the relief requested herein and the risk to Debtors’
                                           3
                                           3   operations if the Debtors cannot pay their Employees, a fourteen-day stay of the relief sought
                                           4
                                           4   herein is impractical.    Accordingly, Debtors request that this Court waive the stay under
                                           5
                                           5   Bankruptcy Rule 6004(h) and provide in the order granting the relief sought herein that such order
                                           6
                                           6   shall be effective immediately.
                                           7
                                           7           14.     Bankruptcy Rule 6003(b) provides “except to the extent that relief is necessary to
                                           8
                                           8   avoid immediate and irreparable harm, the court shall not, within 21 days after the filing of the
                                           9
                                           9   petition, grant relief regarding . . . a motion to use, lease or otherwise incur an obligation regarding
                                          10
                                          10   property of the estate, including a motion to pay all or part of a claim that arose before filing of
                                          11
                                          11   the petition. . . .” As described herein and in the Omnibus Declaration, if the outstanding employee
                                          12
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                                          12   obligations are not satisfied, Debtors will experience immediate and irreparable harm. To ensure
                                          13
                                          13   Debtors’ successful reorganization and maximize value for their creditors, this Court should find
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                                          14
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                                          14   that the exception set forth in Bankruptcy Rule 6003 applies here. Given the emergency nature of
                                          15
                                          15   the relief requested herein, and the potential disruption to Debtors’ businesses that will ensue if
                                          16
                                          16   such relief requested is not granted, Debtors submit that no further notice need be given prior to
                                          17
                                          17   granting the relief sought herein.
                                          18
                                          18           15.     In the alternative, to the extent any of the relief requested herein is not granted
                                          19
                                          19   immediately at the initial hearing on this matter, out of an abundance of caution, the Debtors also
                                          20
                                          20   request that the Court set a final hearing on any remaining matters on the earliest available date
                                          21
                                          21   that is more than 21 days after the Petition Date pursuant to Bankruptcy Rule 6003.
                                          22
                                          22                                          Reservation of Rights
                                          23
                                          23           16.     Nothing contained herein is intended or shall be construed as: (i) an admission as
                                          24
                                          24   to the validity of any claim against Debtors; (ii) a waiver of Debtors’ or any party in interest’s
                                          25
                                          25   rights to dispute any claim; or (iii) an approval or assumption of any agreement, contract, program,
                                          26
                                          26   policy or lease under section 365 of the Bankruptcy Code. Likewise, if this Court grants the relief
                                          27
                                          27   sought herein, any payment authorized pursuant to the Court’s order is not intended and should
                                          28
                                          28   not be construed as an admission to any claim’s validity or a waiver of Debtors’ rights to dispute


                                                                                                  6
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                                           1   such claim subsequently.
                                           2
                                           2                                               Conclusion
                                           3
                                           3          WHEREFORE, Debtors respectfully request that the Court enter an order substantially in
                                           4
                                           4   the form attached hereto as Exhibit 1 providing as follows: (A) authorizing, but not requiring,
                                           5
                                           5   Debtors, in its sole discretion: (i) to pay Wage Obligations to their Employees; (ii) to reimburse
                                           6
                                           6   Employees for Reimbursable Business Expenses, all in accordance with the existing policies with
                                           7
                                           7   respect thereto; and (iii) to pay workers’ compensation insurance; and (B) authorizing all
                                           8
                                           8   applicable banks and other financial institutions to receive, process, honor and pay any and all
                                           9
                                           9   checks related to the foregoing, including specifically those drawn from the Debtors’ accounts,
                                          10
                                          10   whether presented prior to or after the Petition Date, in accordance with the stated policies with
                                          11
                                          11   regard thereto, provided sufficient funds exist in Debtors’ accounts to cover such payments.
                                          12
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                                          12   Debtors also request such other and further relief as is just and proper.
                                          13
                                          13          Dated: November 5, 2018.
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                                                                                 By: /s/ Matthew C. Zirzow
                                          14                                                        LARSON ZIRZOW & KAPLAN, LLC
                                          15
                                          15                                                        ZACHARIAH LARSON, ESQ.
                                          16                                                        Nevada Bar No. 7787
                                          16                                                        E-mail: zlarson@lzklegal.com
                                          17                                                        MATTHEW C. ZIRZOW, ESQ.
                                          17                                                        Nevada Bar No. 7222
                                          18
                                                                                                    E-mail: mzirzow@lzklegal.com
                                          18
                                          19                                                        850 E. Bonneville Ave.
                                          19                                                        Las Vegas, Nevada 89101
                                          20
                                          20                                                         Proposed Attorneys for Debtors
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                     EXHIBIT 1
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                                           6

                                           7   LARSON ZIRZOW & KAPLAN, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           8   Nevada Bar No. 7787
                                               E-mail: zlarson@lzklegal.com
                                           9
                                               MATTHEW C. ZIRZOW, ESQ.
                                          10   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzklegal.com
                                          11   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               Tel: (702) 382-1170
  LARSON ZIRZOW & KAPLAN, LLC




                                          13   Fax: (702) 382-1169
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14   Proposed Attorneys for Debtors

                                          15

                                          16                          UNITED STATES BANKRUPTCY COURT
                                                                             DISTRICT OF NEVADA
                                          17
                                               In re:                                         Case No.: BK-S-18-16584-abl
                                          18                                                  Chapter 11
                                               BACHI BURGER, L.L.C.,                          (Jointly Administered)
                                          19
                                          20                        Debtor.

                                          21
                                               In re:                                         Case No.: BK-S-18-16585-btb
                                          22
                                                                                              Chapter 11
                                          23   GREEN REVOLUTIONS LLC,

                                          24                        Debtor.                   Date:
                                                                                              Time:
                                          25

                                          26   ORDER GRANTING EMERGENCY MOTION: (I) AUTHORIZING DEBTOR TO PAY
                                                 WAGES, SALARIES, BENEFITS, REIMBURSABLE BUSINESS EXPENSES, AND
                                          27    OTHER EMPLOYEE OBLIGATIONS; AND (II) AUTHORIZING AND DIRECTING
                                                          FINANCIAL INSTITUTIONS TO HONOR AND PROCESS
                                          28          CHECKS AND TRANSFERS RELATED TO SUCH OBLIGATIONS
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                                           1              Bachi Burger, L.L.C., a Nevada limited liability company (“Bachi”), and Green
                                           2
                                           2   Revolutions LLC, a Nevada limited liability company (“GR” and together with Bachi, the
                                           3
                                           3   “Debtors”), by and through their proposed counsel, Larson Zirzow & Kaplan, LLC, having filed
                                           4
                                           4   their Emergency Motion for Order: (I) Authorizing Debtors to Pay Wages, Salaries, Benefits,
                                           5
                                           5   Reimbursable Business Expenses, and Other Employee Obligations; and (II) Authorizing and
                                           6
                                           6   Directing Financial Institutions to Honor and Process Checks and Transfers Related to Such
                                           7
                                           7   Obligations (the “Motion”)1 [ECF No. ____]; the Motion having come on for hearing before the
                                           8
                                           8   above-captioned Court; all appearances having been noted on the record; the Court having
                                           9
                                           9   reviewed the Motion, and the other pleadings on file and having heard and considered the
                                          10
                                          10   argument of counsel; the Court having stated its findings of fact and conclusions of law on the
                                          11
                                          11   record at the hearing on the Motion, which findings of fact and conclusions of law are
                                          12
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                                               incorporated herein by this reference in accordance with Fed. R. Civ. P. 52, as made applicable
  LARSON ZIRZOW & KAPLAN, LLC




                                          12
                                          13
                                          13   by Fed. R. Bankr. P. 7052 and 9014; it appearing that the relief requested is necessary to preserve
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                                          14
          850 E. Bonneville Ave.




                                          14   Debtors’ ongoing operations and to avoid immediate and irreparable harm, and is in the best
                                          15
                                          15   interests of the Debtors, their estates, and their creditors; and in the light of the circumstances and
                                          16
                                          16   the emergency nature of the relief requested; and after due deliberation and sufficient cause
                                          17
                                          17   appearing therefor,
                                          18
                                          18              IT IS HEREBY ORDERED:
                                          19
                                          19              1.       The Motion is GRANTED;
                                          20
                                          20              2.       Debtors are authorized: (i) to pay Wage Obligations to their Employees; (ii) to
                                          21
                                          21   pay all Reimbursable Business Expenses, all in accordance with the existing policies with respect
                                          22
                                          22   thereto; and (iii) to pay workers’ compensation insurance, provided, however, that the payment of
                                          23
                                          23   Wage Obligations shall not exceed the statutory cap of $12,850.00 per Employee;
                                          24
                                          24              3.       All applicable banks and other financial institutions are authorized to receive,
                                          25
                                          25   process, honor and pay any and all checks related to the foregoing, including specifically those
                                          26
                                          26   drawn from the Debtors’ accounts, whether presented prior to or after the Petition Date in
                                          27
                                          27
                                          28   1
                                                   Unless otherwise indicated, all capitalized terms herein shall have the same meanings as set forth in the Motion.
                                          28


                                                                                                           2
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                                           1   accordance with the stated policies with regard thereto, provided sufficient funds exist in
                                           2
                                           2   Debtor’s accounts to cover such payments;
                                           3
                                           3          4.      The payments authorized by this Order are not exempt from subsequent operation
                                           4
                                           4   of sections 547, 548, 549 and 550 of the Bankruptcy Code; and
                                           5
                                           5          5.      Debtors are excepted from the operation of Bankruptcy Rule 6003(b). Any stay
                                           6
                                           6   pursuant to Bankruptcy Rule 6004(h) or otherwise is hereby waived, and this Order shall be
                                           7
                                           7   effective immediately.
                                           8
                                           8          IT IS SO ORDERED.
                                           9
                                           9
                                          10
                                               PREPARED AND SUBMITTED:
                                          10
                                          11
                                          11   By: /s/
                                          12   LARSON ZIRZOW & KAPLAN, LLC
Tel: (702) 382-1170 Fax: (702) 382-1169
  LARSON ZIRZOW & KAPLAN, LLC




                                          12   ZACHARIAH LARSON, ESQ.
                                          13   Nevada Bar No. 7787
                                          13
        Las Vegas, Nevada 89101




                                          14   E-mail: zlarson@lzklegal.com
          850 E. Bonneville Ave.




                                          14   MATTHEW C. ZIRZOW, ESQ.
                                          15   Nevada Bar No. 7222
                                          15   E-mail: mzirzow@lzklegal.com
                                          16   850 E. Bonneville Ave.
                                          16   Las Vegas, Nevada 89101
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                                          18   Proposed Attorneys for Debtors
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                                          19                                      LR 9021 CERTIFICATION
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                                          20          In accordance with LR 9021, counsel submitting this document certifies that the order
                                          21   accurately reflects the court’s ruling and that (check one):
                                          21
                                          22                  The court has waived the requirement of approval under LR 9021(b)(1).
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                                                              No party appeared at the hearing or filed an objection to the motion.
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                                          24                  I have delivered a copy of this proposed order to all counsel who appeared at the
                                          25   hearing, and each has approved or disapproved the order, or failed to respond, as indicated above.
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                                          26                   I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                          26   order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
                                          27
                                               content of the order.
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